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UNITED STATES BANKRUPTCY COURT
FOR THE WESTERN DISTRICT OF MICHIGAN

 

In re:
Case No. 21-00524-jwb

LARRY ALLEN CLUCHEY, Chapter 7
Honorable James W. Boyd

Debtor.

WORLD ENERGY INNOVATIONS,
LLC, f/d/b/a WORTHINGTON ENERGY
INNOVATIONS, LLC,

Plaintiff

v. | Adversary Proceeding No. 21-80053

LARRY ALLEN CLUCHEY,
SHERRY D. CLUCHEY,

Defendants.
/

DEBTOR’S MOTION TO APPROVE (I) SETTLEMENT OF (A)
CERTAIN CAUSES OF ACTION AND CLAIMS BY WORLD ENERGY
INNOVATIONS, LLC f/d/b/a WORTHINGTON ENERGY
INNOVATIONS, LLC, AGAINST DEBTOR AND DEBTOR’S WIFE
AND (B) TRUSTEE’S AND WORLD ENERGY INNOVATION, LLC,
fid/bfa WORTHINGTON ENERGY INNOVATION, LLC’S TRICKETT
CLAIM AGAINST DEBTOR AND DEBTOR’S WIFE, SHERRY D.
CLUCHEY, AND (II) FOR OTHER RELIEF PURSUANT TO
BANKRUPTCY RULE 9019(a)

Debtor, Larry Allen Cluchey (the “Debtor’), by and through his undersigned
counsel, brings this Motion to Approve (I) Settlement of (A) Certain Causes of Action and
Claims by World Energy Innovations, LLC f/d/o/a Worthington Energy Innovations, LLC,
against Debtor and Debtor’s Wife and (B) Trustee’s and World Energy Innovation, LLC,

f/d/b/a Worthington Energy Innovation, LLC’s Trickett Claim against Debtor and Debtor's
Case:21-00524-jwo Doc #:78 Filed: 03/08/2022 Page 2 of 32

Wife, Sherry D. Cluchey, and (Il) for Other Relief Pursuant to Bankruptcy Rule 9019(a)
(the “Motion”) Pursuant to Bankruptcy Rule 9019 of the Federal Rules of Bankruptcy
Procedure and respectfully states as follows:
Introduction
1. By the Motion, the Debtor seeks entry of an order in the form attached
hereto as Exhibit B approving a settlement entered into by and among World Energy
Innovations, LLC, f/d/b/a Worthington Energy Innovations, LLC (hereinafter “WEI” ( both
as Plaintiff in the pending Adversary Proceeding and as a claimed creditor in the
bankruptcy proper), Sherry Cluchey, wife of the Debtor, and Marcia Meoli, in her status as
Trustee in the bankruptcy proceeding as set forth in the Settlement Agreement attached
hereto as Exhibit A (the “Settlement Agreement”). For the reasons set forth below, the
Debtor believes that the settlement set forth in the Settlement Agreement is in the best
interest of the Debtor's estate, WEI, and the Trustee, and thus, it should be approved by
the Court.
Jurisdiction
2. This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334(a).
This is a core matter pursuant to 28 U.S.C. § 157(b)(2)(A), (C) and (O).
3. Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.
Background
A. The Debtor’s Bankruptcy Case
4. On March 2, 2021 (the “Petition Date”), the Debtor filed a voluntary petition

for relief under Chapter 7 (the “Bankruptcy Case’).

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5. On March 2, 2021, the Office of the United States Trustee of the Western
District of Michigan (the “UST”) appointed Marcia Meoli as Chapter 7 Trustee in this
Bankruptcy Case.

B. The Trickett Claim and Claim Objection

6. WEI filed two claims in the Bankruptcy Case (Claim Nos. 1 and 4) (the “WEI
Claims’) in the amount in excess of $1,900,000.00. One of the WEI Claims is what is
commonly referred to as a Trickett Claim asserting that WEI has a joint claim against the
Debtor and Debtor’s wife, Sherry Cluchey (the “Trickett Claim’).

7. Only two other claims have been filed, totaling less than $350.00.

8. On July 9, 2021, Sherry Cluchey, through counsel, filed an objection to the
WEI Claim No. 1.

C. The Adversary Proceeding

9. On May 14, 2021, WEI filed an Adversary Proceeding seeking several
counts of relief against Debtor and Debtor’s wife, Sherry D. Cluchey. Among other
matters, the Adversary Proceeding seeks relief under § 727 of the Bankruptcy Code and
§ 707 of the Bankruptcy Code and other forms of relief.

10. Debtor and Debtor’s wife, Sherry Cluchey, both filed Answers to the
Complaint, denying liability in the Adversary Proceeding.

11. Prior to the Court conducting formal pretrial conferences in the adversary
proceeding, the parties conducted a voluntary Mediation. The Mediation, and subsequent
negotiations, resulted in a settlement between all the parties, all the parties to the

Adversary Proceeding and the Trustee with respect to the Trickett Claim, and settlement

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of all claims by the Trustee with respect to a condominium titled jointly between the
Debtor and his sister, Connie Hoffman. The terms of the settlement are set forth in the
attached Settlement Agreement.

12.  Itis the belief of the Debtor, and Debtor understands that it is the belief of
WEI, Connie Hoffman, Sherry Cluchey and the Trustee, that the settlement set forth in the
Settlement Agreement resolves all issues pending in the Bankruptcy and that, upon
Debtor’s successful payment of the sums set forth in the Settlement Agreement, that all
claims by and among the parties to the Settlement Agreement will be resolved, with the
Debtor having only certain reporting and payment conditions as set forth in the Settlement
Agreement remaining. The Trustee’s claim, with respect to the Trickett Claim, and the
Trustee’s claim against the condominium jointly owned by the Debtor and Connie
Hoffman will also be resolved pursuant to the terms of the Settlement Agreement.

Relief Requested

13. | Bankruptcy Rule 9019(a) provides, in pertinent part, that “[o]Jn motion by the
trustee and after notice and a hearing, the court may approve a compromise or
settlement.” Fed.R.Bankr.P. 9019(a).

14. Settlements are generally favored by law, See, e.g., In re SCBA Liquidation,
Inc., f/k/a Second Chance Body Armor, Inc., 451 B.R. 747, 768 (Bankr. W.D. Mich. 2011)
(quoting Buckeye Check Cashing, Inc. d/b/a CheckSmart v. Meadows (In re Meadows),
396 B.R. 485, 499 (BAP 6" Cir. 2008)).

15. | “The benchmark for determining the propriety of a bankruptcy settlement is

whether the settlement is in the best interests of the estate.” In re Lee Way Holding Co.,
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120 B.R. 881, 890 (Bankr. S.D. Ohio 1990) (citing In re Energy Co-op., 886 F.2d 921, 927
(7 Cir. 1989)).

16. | The United States Supreme Court has stated that a bankruptcy judge, in
evaluating compromises under Bankruptcy Rule 9019(a), must:

Apprise [itself] of all facts necessary for an intelligent and objective opinion of the
probabilities of ultimate success should the claim be litigated. Further, the judge should
form an educated estimate of the complexity, expense and likely duration of such
litigation, the possible difficulties of collecting on any judgment which might be obtained,
and all other factors relevant to a full and fair assessment of the wisdom of the proposed
compromise.

Protective Comm. For Independent Stockholders of TMT Trailer Ferry, Inc. v. Anderson,

390 U.S. 414, 423 (1968); see also In re Stinson, 221 B.R. 726 (Bankr. E.D. Mich. 1998).

17. In reviewing a proposed settlement, courts consider the following criteria:
a. The probability of success in the litigation;
b. The difficulties, if any, to be encountered in the matter of collection;
C. The complexity of the litigation involved, and the expense,

inconvenience and delay necessarily attending it; and
d. The paramount interests of the creditors and a proper deference to
their reasonable views in the premises.
In re Lee Way Holding Co., 120 B.R. at 890 (citing Drexel v. Loomis, 35 F.2d 800 (8" Cir.

1929)).
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18. A bankruptcy court’s role in approving a settlement under Bankruptcy Rule
9019(a) is limited. The bankruptcy court “does not substitute its own judgment for that of
the trustee” but, rather, examines the law and the facts to see whether the settlement is
lower than the reasonable range, giving weight to the informed judgment of the trustee
and its counsel that a compromise is fair and in the best interests of the estate. See e.g.,
In re Tennol Energy Co., 127 B.R. 820 (Bankr. E.D. Tenn. 1991).

19. In addition, a bankruptcy court should consider that compromises are
favored in bankruptcy:

The law favors compromise and not litigation for its own sake, and as long as the

bankruptcy court amply considered the various factors that determine the

reasonableness of the compromise, the court’s decision must be affirmed.
Martin v. Kane (In re A & C Properties), 784 F.2d, 1377, 1381 (9" Cir. 1986); accord
Magill v. Springfield Marine Bank (In re Hessinger Resources Ltd.), 67 B.R. 378, 383
(C.D. Ill. 1986) (“In addition [to the four enumerated factors], the bankruptcy court is to
consider that the law favors compromise.”).

20. Abankruptcy court may also apply weight to a trustee’s business judgment
that the proposed settlement should be approved. See Depoister, 36 F.3d at 587; In re
Hessinger Resources Ltd., 67 B.R. at 383.

21. Finally, a bankruptcy court is not required to conduct an evidentiary hearing
or a “mini-trial” on the parties’ claims and defenses when approving a settlement. See
Depoister v. Mary M. Holloway Foundation, 36 F.3d 582, 586 (7" Cir. 1994) (evidentiary
hearing not required). Instead, the court is required only “to canvas the issues in order to

determine whether the settlement falls below the lowest point in the range of
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reasonableness.” /n re Rimsat, Ltd., 224 B.R. 685, 688 (Bankr. N.D. Ind. 1997); accord In

re Energy Co-op., Inc., 886 F.2d at 929; In re Tennol Energy Co. 127 B.R. at 828.

22.

WEl’s claims asserted in the adversary proceeding and in WEl’s proofs of

claim, will be resolved by:

23.

a. The Adversary Proceeding against the Debtor and Sherry Cluchey will be

resolved by payment of the sum of explicitly set forth in the Settlement
Agreement to be paid to WEI and a consent judgment will enter against the

Debtor.

. WEl’s claims filed in the Bankruptcy Case will be deemed allowed as claims

against the Debtor. No further relief will be sought against Sherry Cluchey.

_ The Trustee will be paid the sum set forth in the Settlement Agreement in

full satisfaction of the Trustee’s Trickett Claim and the Trustee will waive
any and all other claims against the Debtor and Debtor's wife and against
the condominium currently titled to the Debtor jointly with his sister, Connie
Hoffman.

Provided that the payments set forth in the Settlement Agreement are

timely made, the Adversary Proceeding will be dismissed, with a judgment entered

against the Debtor as provided in the Settlement Agreement, with the Debtor having

certain reporting and payment requirements provided that his income level exceeds levels

set forth in the Settlement Agreement.

24.

WEI will retain its claims in the bankruptcy and will share in the proceeds of

the other amounts paid to the Trustee as a creditor in the Estate.
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25. Provided, however, if the payments set forth in the Settlement Agreement
are not made to WEI and the Trustee in a timely fashion, the Settlement Agreement itself
will become void, the Adversary Proceeding will proceed, and the Trustee will file the
deed that is held in escrow that reconveys title of the condominium to Connie Hoffman
and the Debtor to return title to its current state.

26. Upon approval of the Settlement Agreement, and payment by Debtor, the
Adversary Proceeding will be closed, with the consent judgment set forth in the
Settlement Agreement entered against the Debtor and the Trustee will be in a position to
close the case and file a Final Report.

27. For the foregoing reasons, the Debtor requests that this Court enter an
order in the form attached hereto as Exhibit B granting the Settlement Motion and
approving the settlement as set forth in the Settlement Agreement.

Notice
28. All the parties having requested notice in the Bankruptcy Case under
Bankruptcy Rule 2002 shall receive notice of the Motion via ECF. In addition, the Debtor
shall serve all creditors having filed a Proof of Claim via overnight courier pursuant to
Bankruptcy Rule 2002(a). The Debtor will also serve the Motion and the notice on the
Office of the United States Trustee via electronic mail. The Debtor submits that no
additional notice is necessary in this matter.
WHEREFORE, the Debtor respectfully requests that this Court enter an order in

the form attached hereto as Exhibit B: (i) granting the Settlement Motion thereby
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approving the settlement set forth in the Settlement Agreement, and (ii) granting any

other relief that it deems just and equitable.
Respectfully submitted,

WARDROP & WARDROP, P.C.,
Counsel for Defendant Larry Allen Cluchey

Dated: March 8, 2022 By:___/s/ Robert F. Wardrop II
Robert F. Wardrop I] (P31639)
Business Address:
300 Ottawa Avenue, NW, Suite 150
Grand Rapids, MI 49503
(616) 459-1225

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Exhibit A

Settlement Agreement
 

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UNITED STATES BANKRUPTCY COURT
FOR THE WESTERN DISTRICT OF MICHIGAN

In re:
Case No. 21-00524-jwb
LARRY ALLEN CLUCHEY.
Chapter 7
Debtor.

/
f

 

WORLD ENERGY INNOVATIONS.
LLC. ffd/b/a WORTHINGTON ENERGY
INNOVATIONS. LLC.

Plaintiff.

vi Adversary Proceeding No. 21-80053-jwb

LARRY ALLEN CLUCHEY and
SHERRY D. CLUCHEY.

Defendants.
/

 

STIPULATION AND SETTLEMENT AGREEMENT

NOW COME Larry Allen Cluchey (“Debtor”), Sherry D. Cluchey (Mrs. Cluchey”).!
World Energy Innovations, LLC. (/d/b/a Worthington Energy Innovations. LLC (“Plaintiff”).
Connie Marie Hoffman (~“Ms. Hoffmann”). and Marcia M. Meoli. Trustee of the Chapter 7
Estate of Larry Allen Cluchey (~Trustee” and with Debtor. Mrs. Cluchey. Ms. Hoffmann. and
Plaintiff, the “Partics”), and for their Stipulation and Settlement Agreement (“Stipulation”). say

and agree as follows,

RECITALS
A. This Stipulation pertains to the above-captioned Chapter 7 proceeding (the “Base

Case”). which was filed on March 2. 2021. It also pertains to that certain adversary proceeding
brought by Plaintiff against the Cluchevs. styled HWorld Energy Innovations, LLC, fid/h/a
Worthington Energy lanovations, LLC v. Larry Allen Cluchey and Sherry D. Clichey. Adversary
Proceeding No. 21-80053 (“Adversary Proceeding”).

B. In the Adversary Proceeding. Plaintiff asserts that (1) Debtor is hable to Plaintiff
in the amount of at least $1.938.150.27: (ii) the Clucheys received transfers that are avoidable
under both state and federal law: (iii) Debtor's liability to Plaintiff is nondischargeable under
various sections of 1! ULS.C.-§ 523(a): and (iv) grounds exist to deny Debtor's discharge under

 

Debtor and Mrs. Cluchey are collectively referred to as the Clucheys.

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I] U.S.C. § 727. The Clucheys deny Plaintiffs allegations and have filed answers in the
Adversary Proceeding.

CG In the Base Case. Plaintiff has filed a joint claim against both Debtor and Mrs.
Cluchey in the amount of at least $73.617.43 (Claim No. L. the “Joint Claim”) and a claim
against Debtor for the liability asserted in the Adversary Proceeding (Claim No. 4, the “Proof of
Claim™). The Clucheys have objected to the Joint Claim (Docket Nos. 35 and 37. the “Claim
Objections”). On September 20. 2021. the Court entered an order consolidating the claim
objections with the Adversary Proceeding for purposes of trial (Docket No. 29).

D. It is understood that. at the time of execution. Clucheys have not yet secured the
necessary funding to effectuate the Settlement Payments. as defined in Paragraph | of this
Stipulation. ‘To fund the Settlement Payments. Debtor's sister Ms. Hoffmann intends to obtain a
loan secured by 7031 Mindew Drive SW. Byron Center. MI 49315. a property which is jointly
titled to Debtor and Ms. Hoffmann and in which the Trustee asserts an interest. ‘Io the extent the
Clucheys are unable to timely fund said Settlement Payments. the parties acknowledge that the
Stipulation shall be deemed void pursuant to its terms.

E. The parties wish to resolve their various pending matters. including the Adversary
Proceeding. the Joint Claim. the Claim Objections. and all other matters between them.

Accordingly. the Parties hereby agree as follows:

l. Settlement Payment. The Clucheys hereby agree to make the following payments
(the “Settlement Payments”):

a. The Clucheys shall pay the Trustee $73,000.00 pursuant to the payment
instructions attached as Exhibit A-1 hereto:

b. The Clucheys shall pay Plaintiff $36,500.00 pursuant to the payment
instructions attached as Exhibit A-2 hereto.

The Settlement Payments must be reecived by the Trustee and the Plaintiff no later than 90 days
from the execution of this Stipulation by all Parties or this Stipulation shall be void as set forth in
Paragraph 3. For the avoidance of doubt. a failure to timely pay the Settlement Payments shall
not void the obligations of Paragraph 4.

2. Bankruptcy Court Approval Required. Immediately upon the execution of this
Stipulation by all Parties. Debtor shall file a motion to approve the settlement contained herein
pursuant to Rule 9019 of the Federal Rules of Bankruptcy Procedure. If such motion is not
granted, this Stipulation shall be void.

3. Settlement Effective Date and Stay of Proceedings. This Stipulation shall become
effective on the first date when (a) it has been duly executed by all Parties: and (b) Trustee and
Plaintiff have received the full amount of the Settlement Payments (the “Settlement Effective
Date”). The parties agree to seck a stay of all matters currently pending in the Adversary
Proceeding. including the Joint Claim. Proof of Claim. and Claim Objections. pending. the
deadline to make the Settlement Payments set forth in Section 1.

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4. Trustee’s Withdrawal of Notice of Interest. It is acknowledged by the Parties that
the Trustee has identified 7031 Mindew Drive SW. Byron Center. MI 49315 (the "Mindew
Property”) as the subject of a potentially avoidable transfer by the Debtor. However. the
Cluchey’s assert that they will be unable to obtain funds necessary to comply with the terms of
this Settlement Agreement unless they obtain a loan secured by the Mindew Drive property.
Vhey further assert that their lender will not process the loan unless the Trustee's Notice of
Interest against the Mindew property is withdrawn prior to the processing of their loan
application. As a result of and in reliance upon these representations the Trustee agrees that
upon entry of an order approving this Stipulation which specifically authorizes the Trustee to
withdraw the Notice of Interest. (i) the Trustee shall withdraw the Notice of Interest filed against
the Mindew Property. and (ii) Debtor shall be authorized to transfer his interest in the Mindew
Property to Connie Marie Hoffmann. Upon execution of this Stipulation. Connie Marie
Hoffmann shall execute and deliver to the Trustee a deed substantially in the form attached as
Exhibit C hereto reconveying the Debtor's interest in the Mindew Property to the Debtor (the
“Reconveyance Deed”). which the Trustee shall hold in escrow pending payment of the
Settlement Payments. The Parties further agree that. if the Settlement Payment due the Trustee
is not received within 90 days of the date this Stipulation is executed. then the Trustee shall
immediately be entitled to record the Reconveyance Deed and re-record a notice of interest
against the Mindew Drive property. Further, if Ms. Hoffmann incurs debt secured by the
Mindew Property and the Settkement Payments hereunder are not timely made, Ms. Hoffmann
agrees to the entry of a consent judgment in the form attached as Exhibit D hereto.

5. Judgment. Debtor agrees to the entry of a nondischargeable judgment pursuant to
HT U.S.C. § 523(a)(2) in favor of Plaintiff and against Debtor in the amount of $2.109.000.00

(the Judgment”).

6. Allowance of Claims. The Clucheys and the Trustee stipulate to the allowance of
and agrce not to object to Plaintiff's Proof of Claim or Joint Claim.

ds Entry of Judgment and Dismissal. On the occurrence of the Settlement Effective
[Date or as soon as is practicable thereafter, Plaintiff shall submit to the Court a consent judgment
in the form attached as Exhibit B hereto and shall file a motion to dismiss the remaining causes
of action in Adversary Proceeding. Debtor understands that dismissal of any cause of action
under 11 U.S.C. § 727 is contingent upon notice to all creditors and a hearing. The Parties agree
that their entry into this Stipulation is not contingent upon dismissal of any claims under 11
U.S.C. § 727. and this Stipulation shall remain in effect even if'a party other than Plaintiff seeks
leave to prosecute such claims.

8. Payment of Future Income. After the Settlement Effective Date. Debtor agrees to
pay Plaintiff (i) 25% of all wages. commissions or salary and (ii) 100% of any other income
(such as gifts. inheritance or bequests) to the extent and when Debtor's gross income exceeds
$55.000.00 in a calendar year. For purposes of this paragraph. Debtor's “income” and “gross
income” shall not include Mrs. Cluchey’s income but shall be deemed to include social security

income.

9, Notification Requirements. Debtor shall notify Plaintiff on the Settlement

Effective Date of his current employment status and income and will notify Plaintiff in writing of

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any substantial changes to his employment status or income within 90 days of any such change.
Debtor shall notify Plaintiff in writing if (i) his gross income exceeds $55.000.00 in a calendar
year or (ii) he receives any gifts. inheritances. or bequests that total in the aggregate $2,500.00 in
a calendar year within 30 days of receiving such gross income. gifts. inheritances. or bequests.
The $55.000.00 income threshold in this paragraph shall be adjusted for inflation every three
years based on the Consumer Price Index. Within 15 days of filing every year. Debtor shall
provide Plaintiff with a copy of his filed tax return for the prior year. or if Debtor is not required
to file tax return in such year. Debtor shall provide Plaintiff with a written certification as to the
amount of gross income and/or gifis received during such year no later than June 30.

10. Stav of Execution of Judgment. So long the Clucheys are not in default of their
obligations under this Stipulation. Plaintiff will not enforce the Judgment against any of the
following:

a. The Clucheys” principal residence located at 7095 Mindew Drive SW (Unit
21). Byron Center. Michigan 49315 (the “Principal Residence”):

b. Provided the Base Case is not dismissed. any asset declared as exempt in the
Base Case as of the date of execution of this Stipulation:

c. Any income received by Debtor in a single calendar year. provided that
Debtor's calendar vear gross income is less than $55.000: and

d. Any gifts. inheritances. or bequests received by Debtor in a calendar year.
provided that. in the aggregate. they do not exceed $2.500 in a calendar year.

IH. Default. Ifthe Clucheys default on any obligations under this Stipulation and do

not cure said default within 1S days” written notice of such default. Plaintiff may enforce the

Judgment against Debtor as permitted by applicable law: provided. however. that (1) the

Principal Residence and all proceeds thereof shall not. under any circumstances. or at any time.

be subject to lien. attachment, or collection. and (2) provided the Base Case is not dismissed.

Plaintiff shall not hold liable any asset declared as exempt in the Base Case as of the date of
execution of this Stipulation.

12. Deposit. On the Settlement Effective Date. the Cluchcys shall deposit $10.000.00
into escrow at the firm of Wardrop & Wardrop. P.C. to provide security against breach of the
Supulation, Wardrop & Wardrop. P.C. will hold the escrow for one year from the Settlement
Liffective Date. and thereafter shall return any unused funds to the Clucheys unless Plaintiff has
provided Wardrop & Wardrop. P.C. a written demand for payment same.

13. No Admission. Each of the Parties acknowledge this Stipulation is a compromise
of disputed claims and that the Settlement Payments made hereunder are not intended to be
construed as an admission of any liability by either Party.

14. Release. The Parties acknowledge this Stipulation is intended to fully resolve the

Clucheys” lability. if any. for any and all claims that have been or may be asserted by the
Plaintiff or the Trustee in the Adversary Proceeding or the Base Case. except for any claims

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under 11 U.S.C. § 727. which shall only be dismissed after notice and hearing. On the Settlement
Effective Date, Plaintiff. the Trustee. and the Clucheys do forever release. acquit. and discharge
each other and all of their officers. directors. employees. representatives. agents and
professionals. and all of their respective successors and assigns. from any and all liability arising
from the claims that they have asserted or may assert against one another. including but not
limited to any claims under 11 U.S.C. §§ 522. 523. 541, 544. 547. 548. 550. but not any claims
arising under 11 U.S.C. § 727. with the exception of (a) Debtor's liability under the Judgment,
subject to the limitations on execution of said Judgment as set forth herein. and (b) Debtor's
obligations under this Stipulation and claims for breach thereof.

15. Entire Agreement. This Stipulation constitutes the complete understanding
between the Parties and it cannot be altered. amended. or modified in any respect. except by a

writing duly executed by all Parties.

16. Voluntary Act. Each of the Parties does hereby warrant. with respect to itself
only. that it is authorized and empowered to execute this Stipulation. The Parties acknowledge
that they have read this Stipulation in its entirety. fully understood its terms. and voluntarily
accepted the terms set forth herein. Further. each Party acknowledges that it has had an
opportunity to consult with legal counsel and any other advisers of its choice with respect to the
terms of this Supulation and it is signing this Stipulation of its own free will.

17. Execution in Counterparts, Ht is understood and agreed that this Sujpulation may

be executed in identical counterparts. including electronically. and may be transmitted by email
or facsimile. each of which shall be deemed an original for all purposes.

[SIGNATURE PAGE FOLLOWS]

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IN WITNESS WHEREOF, the Parties have caused this Stipulation to be executed as of

dates set forth below.

Dated: March a , 2022

Dated: March y , 2022

Dated: March , 2022

Dated: March , 2022

Dated: March 4 , 2022

4877-9627-8281.9

By:

By:

By:

By:

DEBTOR/DEFENDANT LARRY
ALLEN CLUCHEY

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Lanty Cluchey !

ss SHERRY D. CLUCHEY

hoasgh Late

Sherry D. Cluchey

PLAINTIFF WORLD ENERGY
INNOVATIONS, LLC

 

Russ Kiser, General Manager

CHAPTER 7 TRUSTEE OF THE
ESTATE OF LARRY ALLEN
CLUCHEY

 

Marcia M. Meoli, Trustee

CONNIE MARIE HOFFMANN

a Doras PL oo

Connie Marie Hoffmann
 

 

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IN WITNESS WHEREOF. the Parties have caused this Stipulation to be executed as of

dates set forth below.

Dated: March . 2022
Dated: March . 2022

Dated: March af . 2022

Dated: March. 2022

Dated: March . 2022

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By:

DEBTOR/DEFENDANT LARRY
ALLEN CLUCHEY

 

Larry Cluchey

DEFENDANT SHERRY D. CLUCHEY

 

Sherry D. Cluchey

PLAINTIFF WORLD ENERGY
INNOVATIONS, LLC

(Levs Wok

Russ Kiser. General Manaver

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CHAPTER 7 TRUSTEE OF THE
ESTATE OF LARRY ALLEN
CLUCHEY

 

Marcia M. Meoli. Trustee

CONNIE MARIE HOFFMANN

 

Connie Marie Hoffmann
 

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IN WITNESS WHEREOF, the Parties have caused this Stipulation to be executed as of

dates set forth below.

Dated: March , 2022

Dated: March , 2022

Dated: March , 2022

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Dated: March *”, 2022

Dated: March , 2022

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By:

By:

By:

DEBTOR/DEFENDANT LARRY
ALLEN CLUCHEY

 

Larry Cluchey

DEFENDANT SHERRY D. CLUCHEY

 

Sherry D. Cluchey

PLAINTIFF WORLD ENERGY
INNOVATIONS, LLC

 

Russ Kiser, General Manager

CHAPTER 7 TRUSTEE OF THE
ESTATE OF LARRY ALLEN
CLUCHEY =>

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x. A . - a7 )
Marcia. M. Meoli, Trustee

CONNIE MARIE HOFFMANN

 

Connie Marie Hoffmann
 

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EXHIBIT A-I

Trustee's Wire Transfer Instructions

Bank Name: Pinnacle Bank
Bank Address: 150 3rd Ave S Ste 900 Nashville. TN 37201

Routing Number:

Account Number: Contact Trustee's counsel for account number - pigzins[d@millerjohnson.com

Beneficiary Name: Estate of CLUCHEY. LARRY ALLEN. Marcia Mcoli Bankruptcy Trusiee
 

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Exhibit A-2 - Plainutfs ACH Payment instructions

 

Me
Enercy
, _INNovATIONS

504 Liberty Street
Fremont, Ohio 43420
419-333-2112 (phone)

wae

ACH INSTRUCTIONS for

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WORLD ENERGY INNOVATIONS LLC. Checking Account

Attn: Debra Clark
Croghan Colonial Bank
323 Croghan Street
Fremont, Ohio 43420
Fax 419-355-2210

Name: World Energy Innovations LLC

 

Address:

Bank:

Address:

Routing #:

Account #:

Phone:

Fax: dee ee
 

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Exhibit B ~ Consent Judgment
 

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UNITED STATES BANKRUPTCY COURT
FOR THE WESTERN DISTRICT OF MICHIGAN

In re:

Case No. 21-00524-jwb
LARRY ALLEN CLUCHEY,

Chapter 7

 

Debtor.
— _ _/
WORLD ENERGY INNOVATIONS.
LLC. ffd/b/a WORTHINGTON ENERGY
INNOVATIONS. LLC,
Plaintiff,
Vv. Adversary Proceeding No. 21-80053-jwb

LARRY ALLEN CLUCHEY and
SHERRY D. CLUCHEY.

Defendants.

CONSENT JUDGMENT

 

Pursuant to the Stipulation and Setdement Agreement executed Larry Allen Cluchey
(“Debtor”). Sherry D. Cluchey. World Energy Innovations. LLC. t/d/b/a Worthington Energy
Innovations. LLC (~Plaintiff). Connie Maric Hoffman. and Marcia M. Meoli. Trustee of the
Chapter 7 Estate of Larry Allen Cluchey. the Court hereby enters judgment against Debtor and in
favor of Plaintiff as follows:

l. This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. 8§

IS7 and 1334. and 11 U.S.C. § 523.

2. Venue in the Western District of Michigan is proper under 28 U.S.C. § 1409(a).
3. This adversary proceeding is a core proceeding pursuant to 28 U.S.C.

§ 157(b)(2)(1).

AS74-6233-S5504.1
 

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4. Judgment is hereby entered in favor of Plaintiff and against Debtor in the principal
amount of $2,109,000.00, which is hereby declared nondischargeable pursuant to section 523(a)

of the Bankruptcy Code.

SO STIPULATED:

Dated: March ‘7 , 2022 By: Line the,

Larry Cluchex_ SN

END OF ORDER

4874-6233-5504.1
 

 

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Exhibit C — Reconveyance Deed
 

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QUIT CLAIM DEED

Grantor, Connie M. Hoffmann, whose address is 7031 Mindew Drive, S.W., Byron Center,
Michigan 49315, quit claims to

Grantees, Connie M. Hoffmann, whose address is 7031 Mindew Drive, S.W., Byron Center,
Michigan 49315, and Larry Cluchey, whose address is 7095 Mindew Drive, S.W., Byron Center,
Michigan 49315, as joint tenants with full rights of survivorship,

the following described real property situated in the Township of Byron, County of Kent, Staie of
Michigan, and legally described as:

Unit No. 49, in Amber Farms, a Condominium according to the Master Deed
recorded in Instrument No. 20091029-0097799, and any amendments thereto,
inclusive, in the Office of the Kent County Register of Deeds, and designated as
Kent County Condominium Subdivision Plan No. 933, together with rights in
general common elements and in limited common elements as set forth in said
Master Deed and as described in Act 59 of the Public Acts of 1978, as amended

Commonly Known As: 7031 Mindew Drive, S.W.
Byron Center, Michigan 49315

Tax Parcel No. 41-21-10-281-049

subject to easements and building and use restrictions of record and further subject to the lien
of taxes not yet due and payable.

This transfer is exempt from taxation pursuant to MCLA 207.505(a) and MCLA 207.526(a), the
consideration being less than One Hundred Dollars ($100.00).

This property may be located within the vicinity of farmland or a farm operation. Generally
accepted agricultural and management practices which generate noise, dust, odors, and other
associated conditions may be used and are protected by the Michigan Right to Farm Act.

The Grantors grant to the Grantee the right to make all divisions Grantors may have under
Section 108 of the Land Division Act, Act No. 288 of the Public Acts of 1967.

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Date: Br , 2022

STATE OF MICHIGAN )
: $$
COUNTY OF KENT ° )

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a, the Dye

Connie M. Hoffmann

Acknowledged before me in Kent County, Michigan on Mat , 2022 by

Connie M. Hoffmann.

wet,

Carte Stammis, Nétary Public

State of Michigan, County of Kent
Acting in County of Kent

My Commission Expires: 11/02/2027

DRAFTER HAS NOT EXAMINED AND MAKES NO REPRESENTATIONS RESPECTING TITLE

Drafted by and after recording return to:

Victoria L. Smalley (P80179)
Bolhouse, Hofstee & McLean, P.C.
Grandville State Bank Building
3996 Chicago Drive, S.W.
Grandville, Michigan 49418

(616) 531-7711

Send Subsequent Tax Bills To:
Connie M. Hoffmann

7031 Mindew Drive, S.W.
Byron Center, Michigan 49315

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Exhibit D ~ Trustee Judement
 

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STATE OF MICHIGAN
IN THE CIRCUIT COURT FOR THE COUNTY OF KENT

MARCIA R.MEOLI. Chapter 7 Bankruptcy
Trustee for Larry Allen Cluchey.

 

 

 

Plaintiff. Case No. 22-
VS. HON.
CONNIE M, HOFFMANN,
Defendant.

“John T. Piggins (P34495) Victoria L. Smalley (P80179)
pigeins|@millerjohnson.com victorias(@ibalhouselaw.com
Jacob L.. Carlson (P84859) Bolhouse Hofstee & McLean PC
carlsonj@millerjohnson.com Attorneys for Defendant
Miller Johnson Grandville State Bank Building
Attorneys for Plaintit? 3996 Chicago Drive.. SW
PO Box 306 Grandville. MI] 49418-1384
Grand Rapids. Michigan 49501-0306 (616) 531-7711

(616) 831-1700

 

CONSENT JUDGMENT

 

At a session of said court. on this day of
_ . 2022. City of Grand Rapids. County of
Kent. Michigan.

Present: Hon. oe
Circuit Court Judge

Pursuant to the stipulation of the parties as set forth below. and the Court being
otherwise fully advised in the premises. the final Judgment in this matter is entered as follows:

IT 1S ORDERED that Judgment is entered in favor of Plaintiff. Marcia R. Meoli.
Chapter 7 Bankruptcy Trustee for Larry Allen Cluchey. and against Defendant. Connie M.
Hoffmann. in the total amount of $109.675. which amount includes the $175.00 filing fee for this

case,

M.L DMS 34387869 |
 

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IT IS FURTHER ORDERED that the amount of this Judgment shall be reduced by
any amounts previously paid under the terms of the Stipulation and Settlement Agreement which
is attached to the Complaint in this Case.

This order resolves the last pending claim and closes this case.

 

Hon.
Kent County Circuit Judge

STIPULATION

I stipulate to the foregoing Consent Judgment and that the Consent Judgment be

entered by the Court.

 

 

Miller Johnson Bolhouse Hofstee & McLean PC
Attorneys for Plaintiff Attorneys for Defendant

By. ! wll

John T. Piggins (P34495) Victoria L. Smafley(280179)
PO Box 306 3996 Chicago Drive., SW

Grand Rapids, Michigan 49501-0306 Grandville, MI 49418-1384
(616) 831-1700 (616) 531-7711

Dated: Dated: / 4 7 Y- LAtz
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Exhibit B

Proposed Order
Case:21-00524-jwo Doc#:78 Filed: 03/08/2022 Page 31 of 32

UNITED STATES BANKRUPTCY COURT
FOR THE WESTERN DISTRICT OF MICHIGAN

 

In re:
Case No. 21-00524-jwb

LARRY ALLEN CLUCHEY, Chapter 7
Honorable James W. Boyd

Debtor.

WORLD ENERGY INNOVATIONS,
LLC, f/d/b/a WORTHINGTON ENERGY
INNOVATIONS, LLC,

Plaintiff

V. Adversary Proceeding No. 21-80053

LARRY ALLEN CLUCHEY,
SHERRY D. CLUCHEY,

Defendants.
/

ORDER APPROVING DEBTOR’S MOTION TO APPROVE (I)
SETTLEMENT OF (A) CERTAIN CAUSES OF ACTION AND CLAIMS
BY WORLD ENERGY INNOVATIONS, LLC f/d/b/a WORTHINGTON
ENERGY INNOVATIONS, LLC, AGAINST DEBTOR AND DEBTOR’S
WIFE AND (B) TRUSTEE’S AND WORLD ENERGY INNOVATION,
LLC, fid/bla WORTHINGTON ENERGY INNOVATION, LLC’S
TRICKETT CLAIM AGAINST DEBTOR AND DEBTOR’S WIFE,
SHERRY D. CLUCHEY, AND (II) FOR OTHER RELIEF PURSUANT
TO BANKRUPTCY RULE 9019(a)

Upon the motion (the “Motion”) of Debtor, Larry Allen Cluchey, (the “Debtor’) for
entry of an order approving (1) Settlement of (A) Certain Causes of Action and Claims by
World Energy Innovations, LLC f/d/b/a Worthington Energy Innovations, LLC, against
Debtor and Debtor's Wife and (B) Trustee’s and World Energy Innovation, LLC, f/d/b/a

Worthington Energy Innovation, LLC’s Trickett Claim against Debtor and Debtor's Wife,
Case:21-00524-jwo Doc#:78 Filed: 03/08/2022 Page 32 of 32

Sherry D. Cluchey, and (II) for Other Relief Pursuant to Bankruptcy Rule 9019(a); the
Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334; this
matter being a core proceeding pursuant to 28 U.S.C. § 157(b); venue of this proceeding
in this District being proper pursuant to 28 U.S.C. §§ 1408 and 1409; it appearing that
notice of this Motion was appropriate under the particular circumstances and that no other
or further notice need be given; it appearing that the relief requested in the Motion is in
the best interest of the Debtor's estate; after due deliberation and sufficient cause
appearing therefore;

IT IS HEREBY ORDERED THAT:

1. The Motion is granted in its entirety.

2. Pursuant to Bankruptcy Rule 9019(a), the proposed settlement set forth in
the Settlement Agreement attached as Exhibit A to the Motion is hereby approved.

3. The Court retains jurisdiction with respect to all matters arising from or

related to the implementation of this Order.

END OF ORDER

Order prepared and submitted by:

Robert F. Wardrop II (P31639)
Wardrop & Wardrop, P.C.

300 Ottawa Avenue, NW, Suite 150
Grand Rapids, MI 49503

(616) 459-1225
